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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                       )   Civil Action
PRESIDENT, INC.; et al.,                  )
                                          )
             Plaintiffs,                  )
                                          )   No.: 2-20-CV-966
     v.                                   )
                                          )
KATHY BOOCKVAR; et al.,                   )
                                          )
             Defendants.                  )   Judge J. Nicholas Ranjan


                DEFENDANT, HUNTINGDON COUNTY’S, MOTION
      FOR AN EXTENSION OF TIME TO RESPOND TO PLAINTIFFS’ MOTION
  FOR A SPEEDY DELCARATORY JUDGMENT HEARING AND EXPEDITED DISCOVERY

     Defendant, Huntingdon County Board of Elections, by and through

its undersigned counsel, moves this Court for an extension of time to

file a response to the Motion for a Speedy Declaratory Judgment Hearing

and Expedited Discovery (the “Expedited Motion”) and in support thereof

avers:

     1.      On June 29, 2020, Plaintiffs initiated this action against 67

counties and the Secretary of the Pennsylvania Department of State.

     2.      On   July   1,   2020,   Plaintiffs   filed   a   Motion   for   Speedy

Declaration Judgment Hearing and Expedited Discovery (the “Expedited

Motion”).

     3.      On July 2, 2020, this Court entered an Order requiring

Plaintiffs to serve Defendants with the Expedited Motion.

     4.      The July 2, 2020 Order also required Defendants to file a

response to the Expedited Motion by July 13, 2020.
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        5.      On July 6, 2020, Plaintiffs filed a Certificate of Service

representing that all Defendants had been served with the Expedited

Motion as of that day.

        6.      Huntingdon received original service of the Complaint and

summons on July 8, 2020.

        7.      Counsel for Huntingdon only entered an appearance on behalf

of Huntingdon on July 10, 2020.

        8.      The rules of court “should be construed, administered and

employed by the court and the parties to secure the just, speedy and

inexpensive determination of every action and proceeding.” Fed. R. Civ.

P. 1.

        9.      A just determination of the Expedited Motion is one that

allows Huntingdon sufficient time to secure legal representation and

respond to the merits of the Expedited Motion.

        10.     Counsel for Huntingdon seeks time to familiarize itself with

the issues presented in the Expedited Motion so that it can adequately

present Huntingdon’s position on the Expedited Motion to the Court.

        11.     Accordingly, Huntingdon respectfully requests the Court grant

Huntingdon leave for an extension to file its response to the Expedited

Motion until August 3, 2020.

        12.    Due to the short time frame for filing this Motion, Huntingdon

was     unable     to   seek   concurrence   from   Plaintiffs’   counsel   and/or

Defendants’ counsel, many of whom do not yet have counsel in this matter

and may not have been served with the suit.
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     WHEREFORE, Defendant, Huntingdon, respectfully requests that this

Court grant this Motion and enter an Order extending Huntingdon’ deadline

to respond to Plaintiffs’ Motion for a Speedy Declaratory Judgment

Hearing and Expedited Discovery until August 3, 2020.

                                       Respectfully submitted,

                                       GILL, McMANAMON & GHANER



                                       /s/ Peter M. McManamon_________
                                       Peter M. McManamon, Esquire
                                       Supreme Court ID No. 43235
                                       200 Penn Street
                                       Huntingdon, PA 16652
                                       814-643-2460
                                       Attorney for Huntingdon County
                                             Board of Elections
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                           CERTIFICATE OF SERVICE


        I, Peter M. McManamon, certify that on July 13, 2020, I served

the foregoing document sent automatically by CM/ECF on the following

counsel who are registered as CM/ECF filing users who have consented

to accepting electronic service through CM/ECF:

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Date:    July 13, 2020                    /s/ Peter M. McManamon_________
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             Plaintiffs,                )
                                        )   No.: 2-20-CV-966
     v.                                 )
                                        )
KATHY BOOCKVAR; et al.,                 )
                                        )
             Defendants.                )   Judge J. Nicholas Ranjan


                                        ORDER

     AND NOW, this ___ day of July, 2020, after considering Defendant,

Huntingdon County Board of Elections’, Motion for an Extension of Time

to Respond to Plaintiffs’ Motion for a Speedy Declaratory Judgment

Hearing and Expedited Discovery (the “Motion for Expedited Discovery”)

and any response thereto, it is hereby ORDERED that Defendant’s Motion

is GRANTED.      Defendant, Huntingdon County Board of Elections, shall

respond to Plaintiffs’ Motion for Expedited Discovery on or before August

3, 2020.


                                     BY THE COURT:


                                     /____________________
                                     J. NICHOLAS RANJAN, J.
